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                     UNITED STATES COURT OF APPEALS                         FILED
                             FOR THE NINTH CIRCUIT                            JUN 4 2018
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
JOE EDWARD COLLINS III,                           No.    18-55444

                 Plaintiff-Appellant,             D.C. No.
                                                  3:17-cv-02467-MMA-KSC
  v.                                              Southern District of California,
                                                  San Diego
COUNTY OF SAN DIEGO, Department of
Child Support Services,                           ORDER

                 Defendant-Appellee.

       A review of the district court’s docket reflects that the district court has

certified that this appeal is not taken in good faith and has revoked appellant’s in

forma pauperis status. See 28 U.S.C. § 1915(a). This court may dismiss a case at

any time, if the court determines the case is frivolous. See 28 U.S.C. § 1915(e)(2).

       Within 35 days after the date of this order, appellant must:

       (1) file a motion to dismiss this appeal, see Fed. R. App. P. 42(b), or

       (2) file a statement explaining why the appeal is not frivolous and should go

forward.

       If appellant does not respond to this order, the Clerk will dismiss this appeal

for failure to prosecute, without further notice. See 9th Cir. R. 42-1. If appellant

files a motion to dismiss the appeal, the Clerk will dismiss this appeal, pursuant to

Federal Rule of Appellate Procedure 42(b). If appellant submits any response to



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this order other than a motion to dismiss the appeal, the court may dismiss this

appeal as frivolous, without further notice.

       If appellant files a statement that the appeal should go forward, appellee may

file a response within 10 days after service of appellant’s statement.

       The briefing schedule for this appeal is stayed.

       The Clerk shall serve on appellant: (1) a form motion to voluntarily dismiss

the appeal, and (2) a form statement that the appeal should go forward. Appellant

may use the enclosed forms for any motion to dismiss the appeal or statement that

the appeal should go forward.



                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT


                                                 By: Corina Orozco
                                                 Deputy Clerk
                                                 Ninth Circuit Rule 27-7




CO/Pro Se                                 2
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                  UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT

_____________________________          9th Cir. Case No. ___________________
Appellant(s),


v.

_____________________________
Appellee(s).



             MOTION TO VOLUNTARILY DISMISS APPEAL




      Pursuant to Federal Rule of Appellate Procedure 42(b), appellant(s)

_____________________________________________________hereby move(s)

the court for an order dismissing appeal No. _____-__________.




Dated: ____________________       ______________________________________
                                  Print Name(s)
                                  ______________________________________
                                  Signature(s)


                                  Appellant(s) in Pro Se
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                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT

_____________________________           9th Cir. Case No. ___________________
Appellant(s),



v.


_____________________________
Appellee(s).


         STATEMENT THAT APPEAL SHOULD GO FORWARD
               (attach additional sheets as necessary)


1. Date(s) of entry of judgment or order(s) you are challenging in this appeal:
_________________________________________________________________.


2. What claims did you raise to the court below?
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3. What do you think the court below did wrong? (You may, but need not, refer to

cases and statutes.)
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4. Why are these errors serious enough that this appeal should go forward?




5. Additional Information:




Dated: ____________________        ______________________________________
                                   Print Name(s)
                                   ______________________________________

                                   Signature(s)

                                  Appellant(s) in Pro Se
